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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS

                         CRIMINAL ACTION NO. 05-10306-RGS
                           CIVIL ACTION NO. 09-11095-RGS

                                     JAVON BROWN

                                              v.

                             UNITED STATES OF AMERICA

                           MEMORANDUM AND ORDER ON
                          PETITIONER’S MOTION TO VACATE,
                         SET ASIDE, OR CORRECT SENTENCE

                                       July 15, 2010

STEARNS, D.J.

       Javon Brown, a pro se litigant, brought this petition to vacate, set aside, or correct

his sentence pursuant to 28 U.S.C. § 2255. Brown argues that: (1) because he did not

understand the substance of his guilty plea, it was entered involuntarily; (2) the plea lacked

a factual basis; and (3) he received ineffective assistance of counsel. The United States

opposes the petition. For the reasons stated, it will be DENIED.

                                      BACKGROUND

       In September of 2005, federal investigators obtained a court-approved wiretap

authorizing the covert interception of telephone calls among members of a cocaine

trafficking organization masterminded by Brandin Gonsalves, a New Bedford,

Massachusetts-based cocaine dealer. The interceptions eventually led agents to Brown,

a “customer” of Gonsalves and his partner, John Ferreira. In November of 2005, agents

seized approximately ten kilograms of Mexican cocaine destined for Gonsalves and

Ferreira. Prior to the seizure, agents intercepted coded telephone conversations among
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the conspirators planning distribution of the cocaine.       Of immediate relevance, on

September 30, 2005, at approximately 5:38 p.m., in a call to one of his henchmen, Tyson

Depina, Gonsalves told Depina that Ferreira might need his assistance in doing a deal with

“V.” In an October 10, 2005 call with Ferreira, Gonsalves stated that he “got Von’s money,

66.” The agents understood the terms “Von’s money” and “66” as a reference to $66,000

that had been paid by Brown for three kilograms of cocaine. That understanding was

confirmed by an October 24, 2005 telephone call made by Brown from the Ash Street Jail

in which he identified himself to Gonsalves as “Von.”

       On November 9, 2005, a federal grand jury named Brown in an eleven-count

indictment in which fifteen defendants were charged. Brown was charged with one count

of conspiracy to distribute and to possess with intent to distribute at least five kilograms

of cocaine and at least 50 grams of crack cocaine, in violation of 21 U.S.C. § 846.

       On September 28, 2007, Brown was sentenced to a four-to-five year term of

imprisonment on state firearms charges. The state charges grew out of an investigation

by the New Bedford police, who had obtained a search warrant for Brown’s apartment and

several of his storage units. The search led to the seizure of twelve firearms (three of

which had been reported stolen), over 500 rounds of ammunition, and a bulletproof vest.

       Brown changed his plea to guilty to the federal conspiracy charge at a hearing held

on June 24, 2008. At the hearing, Brown pled guilty to so much of the indictment as

charged him with being a member of the conspiracy. In conducting the Rule 11 colloquy,

the court explained the nature of the conspiracy charge to Brown.

       THE COURT: Essentially, Count One – and putting aside any allegation of


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       cocaine base, because you’re not pleading to that, it’s pure cocaine –
       charges that you were part of a conspiracy to distribute cocaine.

       A “conspiracy” under federal law is, as under state law, an agreement
       between two or among three or more persons to do something that the law
       forbids, in this case to distribute a controlled substance, cocaine being a
       controlled substance.

       To prove a conspiracy, the government has to prove an agreement. It
       doesn’t have to prove a contractual agreement, in the sense that there was
       ever a written understanding of what the agreement was, but it does have to
       prove a meeting of the minds, that there was a joint coming together with the
       goal of accomplishing a criminal purpose, and that each member of the
       conspiracy was a knowing and willing member of the conspiracy and joined
       the conspiracy with some desire to see the conspiracy succeed.

       It’s not necessary that every conspirator know the names of every other
       conspirator or every detail of the conspiracy. But he certainly must be a
       knowing participant in what he knows is an agreement to break the law.

       Do you understand that?

       BROWN: Yes.

R11 Tr: 7-8.

       The court then explained the rights that Brown was forfeiting by pleading guilty –

rights that Brown stated he understood. The court asked the government to summarize

the facts of the case, after which the court addressed Brown about his acceptance of

responsibility.

       THE COURT: What the government is saying . . . is that you knew that Mr.
       Gonsalves was involved in a larger conspiracy. Just knowledge that
       someone else is conspiring with other[s] is, itself, not a crime. But you then
       agreed with Mr. Gonsalves to buy large quantities of cocaine from him
       knowing that by being a substantial customer in that sense, you were
       furthering his larger plan to conduct drug operations.

       BROWN: Yes, I understand.



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R11 Tr: 22.

      Finally, the court asked Brown about the representation he had received from his

counsel, Mr. Camera.

      THE COURT: Have you had sufficient time to discuss with Mr. Camera the
      charge in the case, your rights, your possible defenses and the
      consequences of pleading guilty?

      BROWN: Yes, your Honor.

      THE COURT: Do you feel he has acted at all times in your best interest?

      BROWN: Yes, your Honor.

      THE COURT: Mr. Camera, I gather it’s your recommendation that I accept
      the plea?

      MR. CAMERA: Yes, your Honor.

      THE COURT: Mr. Brown, have I confused you by any question I asked or
      anything I said?

      BROWN: No, your Honor.

R11 Tr: 23

      At the conclusion of the hearing, the court made findings that Brown understood the

nature of the charge and the penalties that he faced, and that he was offering to plead

guilty voluntarily and with full knowledge of the consequences, and after consideration of

his own best interests. The court also found that the facts presented by the government,

as acknowledged by Brown, were sufficient to warrant a finding of guilt beyond a

reasonable doubt.

      On October 21, 2008, Brown was sentenced to sixty months, the statutory

mandatory-minimum sentence. The sentence, however, was imposed to run concurrently


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with Brown’s state firearms sentence. The court concurred with Mr. Camera’s observation

that the Sentencing Guidelines recommended a significantly higher sentence, ordinarily

to be served consecutively to any state sentence, and that Brown had been the beneficiary

of the government’s agreement to recommend a concurrent sentence.

                                        DISCUSSION

       Section 2255 is not a surrogate for direct appeal, but rather provides for post-

conviction relief in four limited instances: “if the petitioner’s sentence (1) was imposed in

violation of the Constitution, or (2) was imposed by a court that lacked jurisdiction, or (3)

exceeded the statutory maximum, or (4) was otherwise subject to direct attack.” David v.

United States, 134 F.3d 470, 474 (1st Cir. 1998). “The catch-all fourth category includes

only assignments of error that reveal ‘fundamental defects’ which, if uncorrected, will

‘result in a complete miscarriage of justice,’ or irregularities that are ‘inconsistent with the

rudimentary demands of fair procedure.’” Id., quoting Hill v. United States, 368 U.S. 424,

428 (1962). A cognizable section 2255 claim, unless it is constitutional or jurisdictional in

nature, must reveal “exceptional circumstances” compelling redress. David, 134 F.3d at

474. The petitioner bears the burden of demonstrating an entitlement to relief. Mack v.

United States, 635 F.2d 20, 26-27 (1st Cir. 1980).

       Involuntary Guilty Plea

       Brown first argues that he did not understand the nature of the offense and thought

that he was pleading guilty only to purchasing cocaine, and not as a member of a

conspiracy. Brown did not seek to withdraw his guilty plea during the four months that




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elapsed between the plea and sentencing hearings, nor did he challenge the validity of the

plea on direct appeal. Instead, he brought this collateral attack.

       It is a bedrock principle that, under ordinary circumstances, the voluntariness
       of a guilty plea can be questioned on collateral review under 28 U.S.C. §
       2255 only if, and to the extent that, the plea has been challenged on direct
       appeal. Bousley v. United States, 523 U.S. 614, 621 (1998). If a federal
       habeas petitioner challenges his conviction or sentence on a ground that he
       did not advance on direct appeal, his claim is deemed procedurally
       defaulted. Id.

Oakes v. United States, 400 F.3d 92, 95 (1st Cir. 2005).            When a defendant has

procedurally defaulted by failing to raise a claim on direct review, he may only proceed by

way of collateral attack by demonstrating cause for the default and actual prejudice, or that

he is actually innocent of the offense. Murray v. Carrier, 477 U.S. 478, 485-486, 496

(1986).

       Brown devotes most of his fourteen-page memorandum lamenting his late-blooming

awareness that his plea was involuntary. He suggests in passing that he failed to raise

the issue on direct appeal because he did not realize that “[his] conduct did not warrant

a conspiracy conviction” until after the appeal period expired, leading him to believe that

any direct appeal would be futile. Pet’r’s Reply at 12. He does not claim any prejudice

resulting from the late awakening (beyond the default itself), and therefore has not shown

an entitlement to relief under the first exception to the procedural default rule. See Mack,

635 F.2d at 26-27.

       Brown offers up the protest that he is “innocent of being involved in the

Gonsalves/Ferriera [sic] conspiracy.” Pet’r’s Reply at 12. “To establish actual innocence,

petitioner must demonstrate that, in light of all the evidence, it is more likely than not that


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no reasonable juror would have convicted him.” Bousley, 523 U.S. at 623, quoting Schlup

v. Delo, 513 U.S. 298, 327-328 (1995) (internal citation and quotation marks omitted).

Establishing actual innocence means proving factual innocence, “not mere legal

insufficiency.” Bousley, 523 U.S. at 623, citing Sawyer v. Whitley, 505 U.S. 333, 339

(1992). “This standard, which requires a stronger showing than that needed to establish

prejudice, reserves collateral review for the truly extraordinary case, while still providing

petitioner a meaningful avenue by which to avoid a manifest injustice.” Santoro v. United

States, 187 F.3d 14, 17 (1st Cir. 1999), quoting Schlup, 513 U.S. at 327 (internal citation

and quotation marks omitted).

       Brown has fallen woefully short of meeting his burden. The record of the plea

colloquy does not support the claim that he did not understand the conspiracy charge.

Brown affirmed the court’s restatement of his involvement in the conspiracy, “that he

(Brown) agreed with Mr. Gonsalves to buy large quantities of cocaine from him, knowing

that by being a substantial customer in that sense, [he was] furthering [Gonsalves’s] larger

plan to conduct drug operations.” R11 Tr: 22. Nor does Brown offer any evidence of a

factual nature supporting his claim of innocence, relying instead on the plea hearing

transcript, in which the court specifically found that the government’s facts (and theory of

the case) were sufficient to warrant a finding of guilt. R11 Tr: 24. Consequently, the

default stands. See Murray, 477 U.S. at 485, 496.

       No Factual Basis for Plea

       Brown next alleges that his plea was without a factual basis, claiming that the

evidence presented was insufficient to establish that, through a single purchase of


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cocaine, he was involved in the Gonsalves/Ferreira conspiracy.1 Brown contends that the

evidence only proves that he purchased cocaine from Ferreira on September 30, 2005.

Brown did not present this claim on direct review and has not demonstrated cause and

actual prejudice resulting from his failure to do so. See Bousley, 523 U.S. at 622.

       Ineffective Assistance of Counsel

       Brown levels four claims of ineffective assistance at his attorney, Frank Camera: (1)

counsel did not provide a reasonable defense, among other things, by failing to seek to

suppress the cocaine; (2) counsel did not fully or clearly explain the meaning of

conspiracy, including its elements; (3) counsel did not inform Brown of the entirety of the

evidence against him; and (4) counsel labored under a conflict of interest.

       The Sixth Amendment provides that “[i]n all criminal prosecutions, the accused shall

enjoy the right to . . . have the Assistance of Counsel for his defense.” The right to counsel

includes the right to effective counsel. See Strickland v. Washington, 466 U.S. 668, 686

(1984). Effective counsel does not mean perfect counsel. “Judicial scrutiny of counsel’s

performance must be highly deferential,” and “every effort [should] be made to eliminate

the distorting effects of hindsight.”    Id. at 689.   The court “must indulge a strong

presumption that counsel’s conduct falls within the wide range of reasonable professional

assistance; that is, the defendant must overcome the presumption that, under the

circumstances, the challenged action ‘might be considered sound trial strategy.’” Id.,

quoting Michel v. Louisiana, 350 U.S. 91, 101 (1955). “First, a reviewing court must


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       As the court notes at pages 9-10, infra, Brown’s factual and legal arguments ignore
fundamental principles of the law of conspiracy (that were explained to Brown at the plea
hearing).

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assess the proficiency of counsel’s performance under prevailing professional norms. . .

. This evaluation demands a fairly tolerant approach; after all, the Constitution pledges

to an accused an effective defense, not necessarily a perfect defense or a successful

defense. . . . The second line of inquiry . . . entails a showing of a reasonable probability

that, but for counsel’s unprofessional errors, the result of the proceeding would have been

different.” Scarpa v. Dubois, 38 F.3d 1, 8 (1st Cir. 1994) (internal quotation marks omitted)

(a showing of actual prejudice is a necessary element in almost all cases involving

allegations of attorney error).

       To satisfy the first prong of the Strickland test, Brown must prove that his counsel’s

performance was so inferior as to have been objectively unreasonable. See United States

v. McGill, 11 F.3d 223, 226 (1st Cir. 1993). Counsel’s conduct is considered reasonable

if it falls “‘within the range of competence demanded of attorneys in criminal cases.’”

United States v. Bosch, 584 F.2d 1113, 1121 (1st Cir. 1978), quoting McMann v.

Richardson, 397 U.S. 759, 770-771 (1970).

       To satisfy the second prong of the Strickland test, Brown must show that “there is

a reasonable probability that, but for counsel’s unprofessional errors, the result of the

proceeding would have been different.” Strickland, 466 U.S. at 694. While Brown does

not need to prove that his counsel’s deficient conduct more likely than not altered the

outcome, he must show that his counsel’s errors “had some conceivable effect on the

outcome of the proceeding.” Id. at 693. See also Dugas v. Coplan, 506 F.3d 1, 9 (1st Cir.

2007). Brown’s ineffective assistance claims are supported only by vague references to

filings and evidence, and are directly contradicted by the Rule 11 hearing transcript.


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       A. Failure to Provide a Reasonable Defense

       Brown claims that Camera failed to provide a reasonable defense. He argues inter

alia that Camera should have conceded his role as a co-conspirator and defended him as

such because the evidence “was against [the co-defendants] and not [Brown].” Pet’r’s

Reply at 10. Brown’s argument is based on a fundamental mistake of law, that is, that a

defendant’s “slight” connection to other conspirators is a legal defense to the crime of

conspiracy. See United States v. Brandon, 17 F.3d 409, 428 (1st Cir. 1994) (“Once a

conspiracy is established, as well as defendant’s intent to further it, any connection

between the defendant and the conspiracy, even a slight one, will be sufficient to establish

knowing participation.”).2

       B. Failure to Explain Conspiracy and Its Elements

       Brown next contends that Camera did not clearly explain the meaning of conspiracy,

claiming that he would not have pled guilty had Camera fully explained the elements of the

crime. This contention is contradicted by the transcript of Brown’s Rule 11 hearing.

       THE COURT: I know that he is very thorough but, for the record, has Mr.
       Camera, discussed the indictment with you?

       BROWN: Yes.

       THE COURT: Has he explained to you what lawyers could call the
       “elements” of this offense; that is, the essential components that the
       government would have to prove beyond a reasonable doubt if, in fact, it


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       Although Camera did join in a motion challenging the truthfulness of the search
warrant affiant, the suggestion that he should have gone further by seeking to suppress
the cocaine is based on a fundamental misunderstanding of the law of standing, a
predicate for filing a motion to suppress that Brown could not satisfy. See Rakas v. Illinois,
439 U.S. 128, 138-139 (1978); United States v. Padilla, 508 U.S. 77, 82 (1993) (per
curiam).

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       were able to satisfy a jury that you were guilty of this crime?

       BROWN: Yes, your Honor.

R11 Tr: 6-7.

       The court then defined the legal meaning of the term “conspiracy,” as well as the

burden of proof. Although Brown expressed confusion at one point during the hearing

about the charge (after the prosecution’s presentation of the facts), the court rephrased

the issue to ensure that Brown understood that he was pleading guilty to “agree[ing] with

Mr. Gonsalves to buy large quantities of cocaine from him, knowing that by being a

substantial customer in that sense, [he] was furthering [Gonsalves’s] larger plan to conduct

drug operations.” R11 Tr: 22.

       C. Failure to Inform Brown of All Inculpatory Evidence

       Brown also alleges that Camera did not inform him of all of the evidence against

him, specifically the incriminating contents of the drug ledgers kept by Gonsalves at his

residence. Brown claims that he first learned of the ledgers in the pre-sentence report.

This allegation is inconsistent with the transcript of Brown’s Rule 11 hearing, during which

the government in reciting the evidence that would be introduced if the case were to

proceed to trial, specifically referred to the existence of the “drug ledgers.” R11 Tr: 18.

Moreover, the court cannot think of a reason why even more incriminating evidence would

have made Brown less, rather than more, inclined to plead guilty.

       D. Conflict of Interest

       In his fourth ineffective counsel claim, Brown alleges that Camera refused to ask

the United States Attorney to dismiss the charge against him in exchange for his


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cooperation, which would have included his revealing “who actually purchased the drugs.”

Pet’r’s Reply at 11-12. Brown claims that Camera refused to pursue a cooperation

agreement because the persons Brown would have implicated were “potential clients.” Id.

at 12.

         The constitutional right to counsel carries with it a correlative right to representation

free from any conflict of interest. See Cuyler v. Sullivan, 446 U.S. 335, 346 (1980);

Strickland, 466 U.S. at 688. A defendant cannot rely on a presumption of prejudice but

“must demonstrate that an actual conflict of interest adversely affected his lawyer’s

performance.” Cuyler, 446 U.S. at 348. For Sixth Amendment purposes, an “actual”

conflict of interest is a conflict that adversely affects counsel’s performance, “as opposed

to a mere theoretical division of loyalties.” Mickens v. Taylor, 535 U.S. 162, 171 (2002).

An actual conflict of interest arises when an attorney subordinates his duty to his client to

other interests or loyalties and “pulls his punches” as a result. See United States v.

Soldevila-Lopez, 17 F.3d 480, 486 (1st Cir. 1994). “[I]n order to show an actual conflict

of interest, a defendant must show that (1) the lawyer could have pursued a plausible

alternative defense strategy or tactic and (2) the alternative strategy or tactic was

inherently in conflict with or not undertaken due to the attorney’s other interests or

loyalties.” Id.

         Brown does not offer any evidence of an actual conflict on Camera’s part, only

speculation that Camera’s refusal to pursue a cooperation agreement “may have been a

factor in how [he] was defended.” Pet’r’s Reply at 12 (emphasis added). Although Brown

claims that one of the persons he would have implicated is now Camera’s client, Brown is


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the only defendant who Camera represented in this case. There is no allegation that

Camera undertook any dealings on behalf of any of Brown’s co-defendants at any time

during the prosecution.

       More to the point, Camera successfully negotiated a plea agreement on Brown’s

behalf, pursuant to which Brown took responsibility for only three kilograms of cocaine (the

cocaine he directly purchased) rather than the ten kilograms attributed to the conspiracy

as a whole. Additionally, he secured a government recommendation that the statutory

mandatory minimum federal sentence (60 months) be served concurrently with Brown’s

state sentence. As the court noted at the sentencing hearing, Camera got Brown “a very

good result, the best result . . . under the circumstances.” Sent. Hrg. Tr: 20.

                                         ORDER

       For the foregoing reasons, Brown’s motion to vacate his sentence is DENIED. The

petition is DISMISSED with prejudice. The Clerk may now close the case.

                                                 SO ORDERED.

                                                 /s/ Richard G. Stearns

                                                 ________________________________
                                                 UNITED STATES DISTRICT JUDGE




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